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          March 10, 2023


          Dear Judge Cooper,


          When I went to DC for the presidential speech, I had no intention of going to the Capitol.
          In fact, I brought my dog down to enjoy some time at the National Park Mall.


          At the end of the event at presidential park, I learned that there would be a continuation of the
          event at the Capitol grounds. I proceeded with the intent of listening to a few more speakers.
          Upon arrival it was unclear as to where the speeches would take place. As you know I didn't
          have the opportunity see those presentations as they never took place on the Capitol grounds.
          Sadly, I didn't realize the gravity of the events that had taken place prior to my arrival.


          As you know I took a photo of what was happening in the Capitol and was then sprayed in the
          face. After that point, I literally couldn't "see clearly." The series of events that followed, lead
          me to your court room.

          Had I not been   sprayed I don't   believe   that I would be in the   situation I   nd   myself.
          I got caught up in the moment, failed to read my          surroundings/situation     appropriately.
          In hind-site, I should have just walked away at that moment, and regret that I did not.


          In my more than two months in solitary con nement, and more than two years of house arrest
          I have had a lot of time to think. I learned that you can't change the past, but you can affect the
           future so, I have sought to achieve this on a daily basis.


          I chose to have a renewed    spiritual   enlightenment.    I read the Bible in solitary     con nement      and
           participated in an Easter day Service developed by the Inmate's.
          Upon release, I asked a friend, that is also a pastor, to act as my spiritual        advisor. We have had
          Bible study once a week, typically on Tuesday's or Thursday's, and I have attended church most
          weekends. This has strengthened my relationship with God and renewed my spirit with the
          lord.


          Since my spiritual advisor is also a guitarist, singer and songwriter, we have also incorporated
          music into the bible study. This has led to me to sing with him at multiple nursing homes and at
          his church during the Christmas season, and we intend to continue singing events in the spring
          and summer months.


          I have been a productive    member in society with 22 years in the healthcare             industry    educating
          Doctors as to how to positively treat their patients for optimal health results. I have also been a
          regional mentor while calling on federal state and local accounts.


          In addition, I have provided Hospitals systems with staf ng and support services,
          IT informational technologies services to enterprise businesses, and provided security guard
          services for access control, loss and theft prevention and active threat deterrence.
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      Being a long-standing supporter of law and order, I nd it perplexing the situation that I am
      currently in. I have served in motorcade for both Presidential and Vice-Presidential staffers in
      conjunction with Secret Service. Have been support and security staffer, for the VIP section of
      National Memorial Day Parade (for the consecutive eight years prior to being detained) and
      desire to continue that service. Have also supported the Back the Blue events
      and the local Sheriff's of ce in Northern Virginia.

      I am most proud of being a father to my son Logan.
      Despite being divorced, I was granted "majority custody," and continued being an integral part
      of his life.

      I moved from Virginia to Maryland to spend more time with my mother who is with failing
       health and has memory problems. I desire to continue that care with your permission.

      I come before you, to request the Court's grace, so that I can provide service to my family,
       friends and society as a whole.



       Gratefuly yours,


         loril Etat
       Daniel Egtvedt
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